IN THE UNITED STATES DISTRICT COURT
Case 3:19-cr-OOFGKTPENORTHERN ITSORPCLOR TGCS! 1 PagelD 66

 

 

 

 

 

DALLAS DIVISION
UNITED STATES OF AMERICA §

§ U.S. DISTRICT. COURT
VS. § CASE NOES HSER ITER UH

§ £
SANJAY NANDA § .

AUG - 6 2019
REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY | Clerk US pisfRICT COURT

  
 

By
SANJAY NANDA, by consent, under authority of United States vjDees, 125 F.3d Debt

 

has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to the One Count
Information, filed on July 1, 2019. After cautioning and examining Defendant Sanjay Nanda, under oath
concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable
and voluntary and that the offense charged is supported by an independent basis in fact containing each of the
essential elements of such offense. I therefore recommend that the plea of guilty be accepted, and that
Defendant Sanjay Nanda, be adjudged guilty of Wire Fraud, in violation of 18 USC § 1343, and have
sentence imposed accordingly. After being found guilty of the offense by the district judge.

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The defendant is currently in custody and should be ordered to remain in custody.

The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
community if released.

O The Government does not oppose release.
O The defendant has been compliant with the current conditions of release.
C] I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any

other person or the community if released and should therefore be released under § 3142(b) or (c).

The Government opposes release.

The defendant has not been compliant with the conditions of release.

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

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The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there
is a substantial likelihood that a motion for acquittal or new trial will be granted, or(b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptiorfal circlymstances are clearly

community if released.

Signed August 6, 2019.

 

NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date

of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
